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                      EXHIBIT A
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Diversity, Equity and Inclusion Competencies and Criteria
Recommendations
BACKGROUND
An educational excellence ecosystem requires an equity-centered teaching and learning
system to support and remove barriers to student experiences and success. An important
component of transforming our system’s culture and establishing educational excellence,
includes addressing employee evaluations and tenure review processes. Therefore, in
collaboration with the Diversity, Equity and Inclusion (DEI) Implementation Workgroup,
the Chancellor’s Office has been working to implement the DEI Integration Plan
(https://www.cccco.edu/-/media/CCCCO-Website/Files/Communications/vision-for-
success/5-dei-integration-
plan.pdf?la=en&hash=2402789D82435E8C3E70D3E9E3A8F30F5AB13F1D), create a culture
change, and establish the conditions for educational excellence. The DEI Plan includes
recommendations for embedding DEI competencies and criteria into the employee
evaluation and tenure review processes. These recommendations are also in alignment
with the Vision for Success (https://www.cccco.edu/About-Us/Vision-for-Success) and the
Governor’s Recovery with Equity Roadmap (https://postsecondarycouncil.ca.gov/wp-
content/uploads/sites/18/2021/03/Recovery-with-Equity_2021Mar25-12pm.pdf) that calls
out the incorporation of “equity-centered practices into teaching and learning, grading,
annual evaluations, and faculty review/tenure processes.”
Over the last six months, a subgroup of the DEI Implementation Workgroup tasked with
developing DEI competencies and criteria for employee evaluations and tenure review
processes, developed a competency framework that is developmental in nature to
support the continuous growth of all employees to become more aware and active in
diversity and equity efforts. The subgroup engaged in learning sessions, including
presentations from the Faculty Association of California Community Colleges and Los Rios
Community College District, reviewed DEI competencies and criteria from other higher
education institutions, and participated in activities to draft a set of sample DEI
competencies and criteria.
The subgroup met on multiple occasions to finalize the set of DEI competencies and
criteria that are listed in this document. However, the subgroup acknowledges that this
sample set of DEI competencies and criteria is not exhaustive nor truly “final,” as it may
be updated with further engagement, learning, and dialogue to ensure the continuous
improvement of the evaluation and tenure review processes to support student success.
However, this sample is a starting point, and it is meant to serve as a reference for
districts/colleges as they engage in their own local process to develop and adopt a
personalized set of DEI competencies and criteria for their employee evaluation and
tenure review processes. Districts/colleges are strongly recommended to use these DEI
competencies and criteria as a baseline to develop DEI competencies and criteria that
strengthen the integration of equity-centered practices in local employee evaluation and
tenure review.
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The districts’/colleges’ local process for embedding DEI competencies and criteria may
include, but is not limited to, conducting a review of existing local evaluation and tenure
practices, engaging with stakeholders, and implementing local processes that incorporate
DEI competencies and criteria and assessment. To support these local efforts, the
Chancellor’s Office is committed to creating enabling conditions to assist with the local
implementation of DEI competencies and criteria by:
•   encouraging diversity focused criteria in employee evaluations and tenure review,
•   updating regulations as it relates to evaluation and professional development, and
•   revising the EEO Plan Template to establish accountability in the tenure review and
    evaluations processes.

DIVERSITY, EQUITY AND INCLUSION COMPETENCIES AND CRITERIA
The DEI competencies provided in this document are meant to define the skills,
knowledge, and behaviors that all California Community College (CCC) employees must
demonstrate to work, teach, and lead in a diverse environment that celebrates and is
inclusive of diversity (See Table 1). During the evaluation and tenure review process,
employees will be able to demonstrate they have met the DEI competencies using
concrete examples based on DEI criteria provided in this document (See Table 2).
As aforementioned, the subgroup participated in activities to develop the DEI
competencies and criteria. In partnership with the Chancellor’s Office, the Success Center
analyzed and categorized the subgroup’s responses from activities using thematic coding.
Responses that shared a common theme were grouped together under an overarching
thematic code, and a description was created for each thematic code. In addition, each
competency and criteria was assessed as to whether it applies to faculty, staff (including
administrators), or both employee types. The most common themes that emerged for DEI
Competencies were Cultural Competency, Self-reflection, and Self-Improvement. The
most common themes that emerged for DEI Criteria are Service, Self-assessment, and DEI
Environment.

Diversity, Equity and Inclusion Competencies Themes

Cultural Competency
Theme applies to both faculty and staff.

Recommended Description
•   Acknowledges that cultural and social identities are diverse, fluid, and intersectional.
•   Demonstrates an ongoing awareness and recognition of racial, social, and cultural
    identities with fluency regarding their relevance in creating structures of oppression
    and marginalization.
•   Demonstrates an understanding of the lived experiences of culturally diverse students,
    employees, and communities in the District and uses that understanding to contribute
    to student success, equity, and inclusion.
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•   Seeks DEI and anti-racist perspectives and applies knowledge to problem solving,
    policies, and processes to create respectful, DEI-affirming environments (e.g., campus
    and classroom environments that are inclusive, promotes equity, and affirms
    diversity).

Self-reflection
Theme applies to both faculty and staff.

Recommended Description
•   Engages in self-assessment of one’s own commitment to DEI and internal biases, and
    seeks opportunities for growth to acknowledge and address the harm caused by
    internal biases and behavior.

Self-improvement
Theme applies to both faculty and staff.

Recommended Description
•   Demonstrates a commitment to continuous improvement as it relates to one's DEI and
    anti-racism knowledge, skills, and behaviors to mitigate any harm caused (whether
    intentional or not) to minoritized communities.

Diversity, Equity and Inclusion Pedagogy & Curriculum
Theme applies to faculty.

Recommended Description
•   Promotes and incorporates DEI and anti-racist pedagogy.
•   Accommodates for diverse learning styles and utilizes holistic assessment methods.
•   Participates in training to incorporate culturally affirming pedagogy.

Data
Theme applies to both faculty and staff.

Recommended Description
•   Uses data to uncover inequitable outcomes measured through equity-mindedness
    that calls out racialized patterns in the data, policies, and practices to inform
    strategies to improve equitable student outcomes and success.

Diversity, Equity and Inclusion & Mission
Theme applies to both faculty and staff.

Recommended Description
•   Articulates the importance and impact of DEI and anti-racism as part of the
    institution’s greater mission.
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Diversity, Equity and Inclusion Criteria Themes

Service (e.g., service to the institution or community, or professional service)
Theme applies to both faculty and staff.

Recommended Description
•   Advocates for and advances DEI and anti-racist goals and initiatives.
•   Leads DEI and anti-racist efforts by participating in DEI groups, committees, or
    community activities that promote systemic and cultural change to close equity gaps
    and support minoritized groups.
•   Contributes to student life on campus and supports diverse students beyond the
    classroom.
•   Includes a DEI and race-conscious pedagogy and/or curriculum in campus activities
    for students, faculty, and/or staff.
•   Understands and applies asset-based student-centered practices and activities that
    recognize students’ lived experiences, strengths, and capabilities and empowers
    students to take ownership of their learning experience (e.g., Competency Based
    Education, Credit for Prior Learning, etc.).
•   Commits to the success of minoritized students by providing specific opportunities to
    access educational pathways and opportunities for academic and career success
    (including academic and non-academic advising, mentorship).
•   Develops and implements student programs and activities that incorporate a race-
    conscious and intersectional lens and equips students to engage with the world as
    scholars and citizens.
•   Creates an inclusive learning and working environment by valuing differences among
    colleagues and students and recognizing the ideological disproportionate impacts on
    historically minoritized racial groups.
•   Contributes to DEI and anti-racism research and scholarship.

Self-assessment
Theme applies to both faculty and staff.

Recommended Description
•   Participates in a continuous cycle of self-assessment of one’s growth and commitment
    to DEI and acknowledgement of any internalized personal biases and racial superiority
    or inferiority.
•   Demonstrates the implementation of DEI and anti-racism practices in teaching and/or
    service in the evaluation process.
•   Assesses student outcomes and progress to close equity gaps as outlined in the Vision
    for Success.
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Diversity, Equity and Inclusion Environment
Theme applies to both faculty and staff.

Recommended Description
•   Promotes and contributes to a diverse, inclusive, and anti-racist environment for
    students, colleagues, and community members.

Pedagogy/Curriculum
Theme applies to faculty.

Recommended Description
•   Develops and implements a pedagogy and/or curriculum that promotes a race-
    conscious and intersectional lens and equips students to engage with the world as
    scholars and citizens.
•   Develops and implements a pedagogy that promotes equitable access.
•   Develops and implements a pedagogy that fosters an anti-racist and inclusive
    environment for minoritized students.
•   Demonstrates an ability to teach culturally affirming pedagogy.

Professional Development
Theme applies to both faculty and staff.

Recommended Description
•   Commits to a continuous cycle of self-growth and progress by participating in DEI
    professional development and learning opportunities.
•   Provides professional development and learning opportunities for students, faculty,
    and staff to participate in and advance DEI and anti-racist strategies.

Connected to Mission
Theme applies to both faculty and staff.

Recommended Description
•   Articulates the connection of DEI and anti-racist efforts to the institution’s mission and
    the Vision for Success.

Employee Interactions
Theme applies to both faculty and staff.

Recommended Description
•   Recruits, hires, and retains diverse faculty and staff from minoritized communities and
    diverse backgrounds, especially those adversely impacted.
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•   Introduces new employees to the institution and system's focus on DEI and anti-
    racism and the expectations for their contribution.
•   Promotes and contributes to a respectful, diverse, and equitable campus and work
    environment.
•   Respects and acknowledges the diverse cultural and ethnic backgrounds of
    colleagues.
•   Engages in supportive behaviors and attitudes to foster a positive and inclusive
    campus and work environment.
•   Demonstrates the ability and willingness to communicate effectively with people of
    diverse backgrounds and experiences to create a collaborative community.
•   Considers and includes diverse perspectives and opinions.
•   Shows respect, compassion, and empathy for others.
